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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                                          )
US DOMINION, INC., DOMINION               )
VOTING SYSTEMS, INC., and                 )
DOMINION VOTING SYSTEMS                   )
CORPORATION                               )
c/o Cogency Global                        )
1025 Vermont Ave., NW, Suite 1130         )
Washington, DC 20005,                     )
                                          )
              Plaintiffs,                 )            Case No. 1:21-cv-00445-CJN
                                          )
       v.                                 )
                                          )
MY PILLOW, INC. and                       )
MICHAEL J. LINDELL                        )
343 E 82nd Street #102                    )
Chaska, MN 55318,                         )
                                          )
              Defendants.                 )
                                          )


        DECLARATION OF ANDREW D. PARKER IN SUPPORT OF
                MOTION FOR ADMISSION PRO HAC VICE
________________________________________________________________________
       I, Andrew D. Parker, declare:
              1.     I am an attorney licensed to practice law in the State of Minnesota
and am a partner with the law firm of Parker Daniels Kibort LLC.
              2.     The law office of Parker Daniels Kibort LLC is located at 888
Colwell Building, 123 North Third Street, Minneapolis, Minnesota 55401. Telephone
number (612) 355-4100 and facsimile number (612) 355-4104.
              3.     In October of 1988, I was admitted to practice law in the federal and
state courts in the State of Minnesota.
              4.     In January of 2002, I was admitted to practice law in the Supreme
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Court for the United States of America.
              5.     In January of 2011, I was admitted to practice law in the federal and
state courts in the State of Arizona.
              6.     I hereby certify that I have not been disciplined by any bar.
              7.     I have never been admitted pro hac vice in this Court.
              8.     I do not have an office located in the District of Columbia, and I am
not a member of the District of Columbia Bar. Parker Daniels Kibort LLC has retained
Nathan Lewin and the law firm Lewin & Lewin LLP, to serve as local and co-counsel in
this matter. The address and telephone number for Nathan Lewin and Lewin & Lewin
LLP are: 1828 L Street NW, Suite 901, Washington, D.C. 20036, telephone number
(202) 828-1000.
              9.     I have read the Local Rules of this Court.


       I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.


Executed on April 22, 2021 in Minneapolis, Minnesota.


                                                  s/ Andrew D. Parker
                                                 Andrew D. Parker




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